        Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 1 of 15                      FILED
                                                                                   2018 Nov-07 AM 09:16
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

VALENTIN BELEVICH,                         )
                                           )
      Plaintiff,                           )
v.                                         )
                                           )            Civil Action Number
KLAVDIA THOMAS and                         )            2:17-cv-1193-AKK
TATIANA KUZNITSNYNA,                       )
                                           )
      Defendants.                          )

                    MEMORANDUM OPINION AND ORDER

      Valentin Belevich brings this action against Klavdia Thomas and Tatiana

Kuznitsnyna (“the Defendants”) under the Immigration and Nationality Act, 8

U.S.C. §§ 1101 et seq. (“INA”) for breach of contract and intentional infliction of

emotional distress. Doc. 1. The Defendants have asserted counterclaims of

extortion, misrepresentation, fraud, and conversion. Docs. 23, 25. Belevich has

moved to dismiss these counterclaims for failure to state a claim on which relief

can be granted, doc. 29, and the motion is ripe for review. For the reasons stated

more fully below, the motion is due to be granted.

      I. STANDARD OF REVIEW

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

“[T]he pleading standard Rule 8 announces does not require ‘detailed factual

                                          1
        Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 2 of 15



allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). By contrast with Rule 8(a)’s

fairly liberal pleading standard, Federal Rule of Civil Procedure 9(b) requires a

party to “state with particularity the circumstances constituting fraud or mistake.”

This means the claimant must allege: “(1) the precise statements, documents, or

misrepresentations made; (2) the time, place, and person responsible for the

statement; (3) the content and manner in which these statements misled the

[claimants]; and (4) what the [opposing party] gained by the alleged fraud.”

American Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1291 (11th Cir. 2010)

(citing Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1380-81

(11th Cir. 1997)).

      Federal Rule of Civil Procedure 12(b)(6) permits dismissal of a claim or

counterclaim when a pleading fails to state a claim upon which relief can be

granted. To survive a motion to dismiss counterclaims, the pleadings “must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible

on its face.” Iqbal, 556 U.S. at 678 (citations and internal quotation marks

omitted); see, e.g., Geter v. Galardi South Enterprises, 43 F. Supp. 3d 1322, 1325

(S.D. Fla. 2014) (“A motion to dismiss a counterclaim pursuant to Federal Rule of

Civil Procedure 12(b)(6) is evaluated in the same manner as a motion to dismiss a


                                           2
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 3 of 15



complaint.”); Johnson Outdoors Inc. v. Navico, Inc., 774 F. Supp. 2d 1191, 1195

(M.D. Ala. 2011) (applying Iqbal standard to examine a motion to dismiss

counterclaims). A claim is facially plausible when the claimant pleads “factual

content that allows the court to draw the reasonable inference that the [opposing

party] is liable for the misconduct alleged.” Id. (citation omitted). The allegations

must establish “more than a sheer possibility” that the opposing party acted

unlawfully. Iqbal, 556 U.S. at 678; see Bell Atl. Corp., 550 U.S. at 555 (“Factual

allegations must be enough to raise a right to relief above the speculative level.”).

Ultimately, this inquiry is a “context-specific task that requires the reviewing court

to draw on its judicial experience and common sense.” Iqbal, 556 U.S. at 679.

      II. FACTUAL BACKGROUND

      Belevich, a Russian citizen and legal permanent resident of the United

States, filed this action against his wife Kuznitsnyna and Kuznitsnyna’s daughter,

Thomas. Docs. 25 ¶¶ 1-8; 1 ¶¶ 1-8. Kuznitsnyna and Thomas, both of whom are

United States citizens, jointly sponsored Belevich’s immigration to the United

States by co-signing and filing an I-864 Affidavit of Support on his behalf pursuant

to § 213 of the INA, 8 U.S.C. § 1183a. Docs. 25 ¶¶ 18-20; 1 ¶¶ 18-20. An affidavit

of support is “executed by a sponsor of the alien as a contract . . . in which the

sponsor agrees to provide support to maintain the sponsored alien at an annual

income that is not less than 125 percent of the Federal poverty level during the


                                          3
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 4 of 15



period in which the affidavit is enforceable.” 8 U.S.C. § 1183a(a)(1)(A). Notably,

the affidavit does not terminate on divorce, docs. 33 ¶ 12; 1 ¶ 12, and it lasts until

the alien becomes a naturalized citizen or “has worked 40 qualifying quarters of

coverage as defined under title II of the Social Security Act.” 8 U.S.C. §

1183a(a)(2)–(3).

      The Department of Homeland Security ultimately granted Belevich a visa

that allowed him to immigrate to Alabama in 2012. Docs. 25 ¶¶ 6, 20; 1 ¶¶ 6, 20.

Once in Alabama, Belevich worked various jobs, including a full-time position as

an auto mechanic, and contributed to his and Kuznitsnyna’s finances until late

2014. Docs. 25 ¶¶ 24-25; 1 ¶¶ 24-25. Subsequently, Kuznitsnyna filed for divorce

and obtained a protection from abuse order against Belevich. Doc. 6 at 2.

      In the present action, Belevich claims that the Defendants have breached

their contractual obligations under the I-864 Affidavit of Support and requests

specific performance, compensatory damages, and damages for intentional

infliction of emotional distress. Doc. 1 at 7-9. In support of his claims, Belevich

makes several contested factual allegations: (1) that, in late 2014, he suffered a

heart attack and subsequently lost his job as an auto mechanic. Id. ¶ 26; (2) that,

shortly after losing his job, he temporarily traveled to Russia to care for his ailing

mother. Id. ¶ 28; and (3) that Thomas sought to prevent Belevich’s return to the

United States by cancelling his credit card, cell phone, and return ticket, and that


                                          4
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 5 of 15



Thomas also emptied his retirement accounts and liquidated his remaining Russian

assets without his knowledge. Id. ¶ 29. These events purportedly caused Belevich

to suffer a second heart attack. Id. ¶ 30. Allegedly relying on borrowed money,

Belevich purchased a ticket and returned to the United States in October 2015. Id.

¶ 32. However, since his return, Kuznitsnyna has refused to let Belevich return to

their home or to retrieve his personal property, and the Defendants have not

fulfilled their obligations under the I-864 Affidavit of Support, forcing Belevich to

rely on government benefits and charity. Id. ¶¶ 33-38.

      In their answer and amended answer, the Defendants assert counterclaims

for extortion, misrepresentation, fraud, and conversion. Docs. 23, 25. Basically, the

Defendants allege that Belevich: (1) threatened Kuznitsnyna that, unless she paid

him $10,000, he would attempt to enforce or otherwise use the I-864 Affidavit of

Support against her and Thomas. Doc. 25 ¶ 56; (2) falsely represented to the

Defendants that he had suffered a heart attack, in order to obtain money from

Thomas and as part of his plan to dissolve his marriage with Kuznitsnyna. Id. ¶ 57;

and (3) knowingly and falsely represented to U.S. Customs and Border Patrol on

his return from Russia in 2015 that he was domiciled in the United States, and

purportedly did so to prevent the agency from concluding that he had abandoned

his status as a legal permanent resident and to enable his return to the United States

to enforce the I-864 Affidavit of Support. Id. ¶¶ 58-59. Presently before the court is


                                          5
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 6 of 15



Belevich’s motion to dismiss the counterclaims for failure to state a claim pursuant

to Federal Rule of Civil Procedure 12(b)(6). Doc. 29.

             III. ANALYSIS

      The court must determine initially whether to grant the Defendants leave to

amend their answer a second time. Rule 15 only permits a party one opportunity to

amend a pleading as a matter of course. See Fed. R. Civ. P. 15(a)(1) (“A party may

amend its pleading once as a matter of course . . .”); Logue v. Patient First Corp.,

246 F. Supp. 3d 1124, 1126-27 (D. Md. 2017) (“[O]nly one opportunity is afforded

by Rule 15 to amend any pleading as a matter of course.” (emphasis in original)).

Consequently, the Defendants are required to obtain either Belevich’s written

consent or leave to amend their answer a second time, see Fed. R. Civ. P. 15(a)(2),

which the Defendants failed to do. Here, however, the second amended answer

would only add the word “falsely” to the Defendants’ first misrepresentation claim

and correct minor grammatical errors and omissions in their initial counterclaims,

doc. 33 at 5-6. Therefore, the court will allow the amendment.

      Turning now to the motion to dismiss, in their second amended answer, doc.

33, the Defendants allege five counterclaims against Belevich: extortion, two

claims of misrepresentation, fraud, and conversion. Belevich contends that each

claim fails to state a claim on which relief can be granted. The court agrees.




                                          6
          Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 7 of 15



              A. Extortion

      Belevich challenges the extortion counterclaim, contending that Alabama

does not recognize a civil action for extortion and, alternatively, that his alleged

conduct does not constitute extortion under Alabama or federal law. The court

agrees with the alternate contention—specifically, although Alabama Code § 6-5-

370 permits a claimant to commence a civil action, absent prosecution, “[f]or any

injury, either to person or property, amounting to a felony,” see Preskitt v. Lyons,

865 So. 2d 424, 428-29 (Ala. 2003) (quoting Ala. Code § 6-5-370), the claim

requires the showing of an injury equivalent to the felony of extortion. In other

words, to plead a proper claim for extortion requires, as defined in the Alabama

Code, that the defendant “knowingly obtain[ed] by threat control over the property

of another, with intent to deprive him of the property.” Ala. Code §§ 13A-8-13;

13A-8-14; 13A-8-15.1 Here, however, the Defendants have failed to allege any

facts indicating that Belevich “obtained . . . control” over Kuznitsnyna’s or

Thomas’ money or property, a necessary element of felony extortion under

Alabama law. See doc. 33 ¶ 56; Feldman v. American Dawn, Inc., 849 F.3d 1333,

      1
         The Alabama Criminal Code distinguishes between first- and second-
degree extortion. Ala. Code §§ 13A-8-14; 13A-8-15. Attempted extortion in the
first degree—which requires a threat to cause physical harm to, or physical
confinement or restraint of, another person—is also classified as a felony. See id.
§§ 13A-4-2; 13A-8-1(14)(a), (c); 13A-8-14; Preskitt, 865 So.2d at 429-30.
However, the Defendants have not alleged that Belevich attempted to threaten to
cause physical harm, confine, or restrain another person, and thus they have not
stated an injury equivalent to first-degree attempted extortion. See doc. 33 ¶ 56.
                                         7
        Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 8 of 15



1339 (11th Cir. 2017) (“[A party] must plausibly allege all the elements of the

claim for relief.”). As such, their state law extortion claim fails.

      Similarly, their federal claim fails as well. Under the Hobbs Act, the federal

statute criminalizing extortion, a conviction requires proof of both extortion and

interference with interstate commerce. See United States v. Bornscheuer, 563 F.3d

1228, 1236 (11th Cir. 2009) (citing 18 U.S.C. § 1951(a)). Extortion is defined as

“the obtaining of property from another, with his consent, induced by wrongful use

of actual or threatened force, violence, or fear, or under color of official right.” 18

U.S.C. § 1951(b)(2). The Defendants have not alleged any facts that state an injury

equivalent to a felony under federal law or any interference with interstate

commerce. Moreover, because a “bad-faith threat to sue,” by itself, cannot

constitute the requisite “wrongful” act under the Hobbs Act, the Defendants’

allegation that Belevich threatened to “use . . . or attempt to enforce” the I-864

Affidavit of Support is insufficient to allege extortion. See United States v.

Pendergraft, 297 F.3d 1198, 1205-07 (11th Cir. 2002) (finding that defendants’

threat to litigate was not “wrongful” under the Hobbs Act even though they had no

lawful claim to the money at issue and had filed false affidavits); doc. 33 ¶ 56. In

short, the Defendants’ allegations do not state a plausible claim for extortion or any

other cognizable claim.




                                            8
          Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 9 of 15



              B. Misrepresentation I

      Belevich also contends that the Defendants’ first misrepresentation claim,

doc. 33 ¶ 57, fails to satisfy the pleading standards of Rules 8(a) and 9(b). Under

Alabama law, a misrepresentation claim consists of: “1) a misrepresentation of

material fact, 2) made willfully to deceive, recklessly, without knowledge, or

mistakenly, 3) which was reasonably relied on by the plaintiff under the

circumstances, and 4) which caused damage as a proximate consequence.” Bryant

Bank v. Talmage Kirkland & Co., 155 So. 3d 231, 238 (Ala. 2014). The

misrepresentation claim must also satisfy the particularity requirements of Rule

9(b). See Fed. R. Civ. P. 9(b) (“In alleging fraud or mistake, a party must state with

particularity the circumstances constituting fraud or mistake.”). 2 This means that

the   claim    must   allege:   “(1)   the       precise   statements,   documents,   or

misrepresentations made; (2) the time, place, and person responsible for the


      2
         Although the Defendants plead some of their claims as misrepresentation
rather than fraud, see doc. 33 ¶¶ 57-58, Alabama statutory law indicates that all
misrepresentation claims are claims of “legal fraud.” See Ala. Code § 6-5-101
(“Misrepresentations of a material fact made willfully to deceive, or recklessly
without knowledge, and acted on by the opposite party, or if made by mistake and
innocently and acted on by the opposite party, constitute legal fraud.”). Moreover,
the Defendants allege that Belevich made intentionally false representations. See
doc. 33 ¶¶ 57, 58. Accordingly, the Defendants’ misrepresentation claims must
satisfy Rule 9(b)’s particularity requirements for fraud. See Lamm v. State St. Bank
& Tr., 749 F.3d 938, 951 (11th Cir. 2014) (holding that Rule 9(b) applied to
negligent misrepresentation claims because such claims sounded in fraud under
Florida law); Bodie v. Purdue Pharma Co., 236 F. App’x 511, 524 (11th Cir. 2007)
(noting that a plaintiff alleging fraud or misrepresentation must satisfy Rule 9(b)).
                                             9
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 10 of 15



statement; (3) the content and manner in which these statements misled the

[claimants]; and (4) what the [opposing party] gained by the alleged fraud.” Cigna

Corp., 605 F.3d at 1291 (citation omitted). “This Rule ‘serves an important

purpose in fraud actions by alerting [opposing parties] to the precise misconduct

with which they are charged’ and protecting [opposing parties] ‘against spurious

charges of immoral and fraudulent behavior.’” Brooks, 116 F.3d at 1370-71

(citations omitted).

       The first misrepresentation claim alleges that Belevich intentionally

misrepresented that he had experienced a heart attack in order to obtain an

unspecified amount of money from Defendant Thomas. See doc. 33 ¶ 57. The

Defendants     have    not,     however,      articulated     the    precise     statement   or

misrepresentation that Belevich allegedly made, or when, where, or how Belevich

made this misrepresentation and what money Thomas gave Belevich in connection

with his misrepresentation. See Mizzaro, 544 F.3d at 1237 (finding that Rule 9(b)

requires pleading “the who, what, when, where, and how of the allegedly false

statements . . .”); Pucci v. Carnival Corp., 146 F. Supp. 3d 1281, 1290-91 (S.D.

Fla.   2015)   (finding       plaintiffs’   allegations     that    cruise     company   made

misrepresentations through marketing materials and employee statements, without

identifying exactly when these misrepresentations occurred, lacked sufficient

“temporal precision” under Rule 9(b)). Furthermore, given that the complaint


                                              10
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 11 of 15



pleads that Belevich suffered two separate heart attacks, doc. 1 ¶¶ 26, 30, both of

which the Defendants dispute, doc. 33 ¶¶ 26, 30, it is unclear whether the

Defendants’ sparse allegations refer to events pertaining to one or both of the

alleged heart attacks. In the absence of the particular circumstances of this claim,

the Defendants’ allegations fall short of the heightened pleading requirements of

Rule 9(b), and fail to state a claim that is plausible. See Brooks, 116 F.3d at 1370-

71 (“Rule 9(b) must be read in conjunction with Rule 8(a) . . .”).

             C. Misrepresentation II and Fraud

      Belevich also contends that the Defendants’ second misrepresentation claim,

doc. 33 ¶ 58, and fraud claim, doc. 33 ¶ 59, fail to satisfy Rule 8(a)’s plausibility

standard and Rule 9(b)’s particularity requirements. 3 This claim is based on the

Defendants’ contention that Belevich purportedly lied to Customs and Border

Patrol when he represented on his return after traveling to Russia, allegedly to visit

his sick mother, that he is domiciled in the U.S. See doc. 33 ¶¶ 58-59; doc. 1 ¶¶ 28-

33. Based on Belevich’s complaint, the undersigned is skeptical of the Defendants’

      3
         Under Alabama law, a “fraud claim” appears to consist of essentially the
same elements as a claim of intentional or reckless misrepresentation. See, e.g.,
Patten v. Alfa Mut. Ins. Co., 670 So. 2d 854, 856 (Ala. 1995) (“The essential
elements of a fraud claim are: (1) misrepresentation of a material fact; (2) made
willfully to deceive, or recklessly without knowledge; (3) which was justifiably
relied upon by the plaintiff under the circumstances; and (4) which caused damage
as a proximate consequence.” (citation omitted)). Moreover, the Defendants’
second misrepresentation claim and fraud claim are based on the same factual
allegations. See doc. 33 ¶¶ 58-59; doc. 34 at 4. Accordingly, the court analyzes the
Defendants’ second misrepresentation and fraud claims together.
                                         11
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 12 of 15



allegation that Belevich knowingly and intentionally made a misrepresentation

about his domicile, given that his alleged reason for traveling to Russia was to visit

his mother, rather than to permanently move back. In any event, the Defendants

have not articulated how Belevich even made this misrepresentation to Customs

and Border Patrol or why his statement is false.

      Second, the Defendants have not adequately alleged under Rules 9(b) and

8(a) how this misrepresentation harmed them, except to state that Belevich’s

purported misrepresentation about his domicile enabled him to enter the U.S. so

that he could enforce the I-864 affidavit of support. Doc. 33 ¶¶ 58-59. But

Belevich’s trip to Russia did not absolve the Defendants’ of their support

obligations. Under federal immigration regulations, Thomas’ support obligations

under the I-864 terminate if Belevich “ceases to hold the status of an alien lawfully

admitted for permanent residence and departs the United States.” 8 C.F.R. §

213a.2(e)(2)(i)(C); Erler v. Erler, 824 F.3d 1173, 1176-77 (9th Cir. 2016) (listing

the five ways in which I-864 obligations terminate). Critically, “if the sponsored

immigrant has not abandoned permanent resident status, executing the form

designated by USCIS for recording such action [sic] this provision will apply only

if the sponsored immigrant is found in a removal proceeding to have abandoned

that status while abroad.” 8 C.F.R. § 213a.2(e)(2)(i)(C) (emphasis added). The

Defendants have not alleged that Belevich executed any USCIS-designated form


                                         12
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 13 of 15



abandoning his permanent resident status, that there was a removal proceeding

initiated against Belevich, or that USCIS had issued a finding that Belevich had

abandoned his status while in Russia.4 Consequently, based on these pleadings, it

is not clear how Belevich’s statement as to his domicile is even a misrepresentation

or how it could have harmed the Defendants.

            D. Conversion

      Finally, Belevich contends that the Defendants have failed to plausibly

allege the elements of a conversion claim. Doc. 29 at 4-5. See Ex Parte Talbott,

215 So. 3d 541, 549 (Ala. 2015) (citation omitted) (requiring that a claimant must

show “a wrongful taking or a wrongful detention or interference or an illegal use or

misuse of his or her property.”). The Defendants allege that Belevich obtained

“monies, services, and other economic benefits” from the Defendants by

implementing a “plan to force dissolution of [his] marriage” to Kuznitsnyna. Doc.

33 ¶ 60. These allegations, without more, do not state any action by Belevich that

amounts to the “wrongful exercise of dominion over” or “illegal misuse” of the

Defendants’ property required for a claim of conversion.5 See Horne v. TGM


      4
         Indeed, the Defendants admit in their amended answer that Belevich “is a
legal permanent resident of the United States . . .” Doc. 33 ¶ 6; doc. 1 ¶ 6.
       5
          The Defendants contend in their responsive brief that the alleged
conversion is Belevich’s “illegal misuse” of the I-864 Affidavit of Support by
attempting to cause the dissolution of his marriage to Kuznitsnyna, by lying about
his heart attack, and by committing fraud while entering the United States. Doc. 34
at 5. However, this attempt to shoehorn factual and conclusory allegations from the
                                         13
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 14 of 15



Associates, L.P., 56 So. 3d 615 (Ala. 2010) (citation omitted) (emphasis in

original) (“The gist of [conversion] is the wrongful exercise of dominion over

property in exclusion or defiance of a plaintiff’s rights . . .”); Martin v. Luckie &

Forney, Inc., 549 So. 2d 18, 19 (Ala. 1989) (“[T]he bare possession of property

without some wrongful act in the acquisition of possession, or its detention, and

without illegal assumption of ownership or illegal user or misuser, is not

conversion.”). Moreover, the Defendants fail to identify any specific property that

Belevich wrongfully acquired or converted. See Schaeffer v. Poellnitz, 154 So. 3d

979, 988 (Ala. 2014) (citation omitted) (noting that the “converted” property must

be “specific personal property . . . to which, at the time of the conversion, the

[claimant] had a general or specific title and of which the [claimant] was in actual

possession or to which he was entitled to immediate possession”); Newson v.

Protective Industrial Ins. Co. of Alabama, 890 So. 2d 81, 88 (Ala. 2003)

(“Generally, an action for conversion of money will not lie unless the money is

specific and capable of identification.” (internal quotations and citation omitted)).




preceding counts for misrepresentation and fraud into an additional claim of
conversion exemplifies a form of “shotgun pleading” that is insufficient to state a
claim. See Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313, 1320-23
(11th Cir. 2015) (“The most common type [of shotgun pleading] . . . is a complaint
containing multiple counts where each count adopts the allegations of all preceding
counts, causing each successive count to carry all that came before and the last
count to be a combination of the entire complaint.”).
                                         14
       Case 2:17-cv-01193-AKK Document 35 Filed 11/07/18 Page 15 of 15



Consequently, the Defendants’ sparse factual allegations fail to plausibly state a

claim for conversion.

      IV. CONCLUSION AND ORDER

      In sum, the Defendants have failed to state a counterclaim on which relief is

plausible, and Belevich’s motion to dismiss the Defendants’ amended

counterclaims, doc. 29, is GRANTED. Accordingly, the Defendants’ amended

counterclaims, doc. 33 ¶¶ 56-60, are DISMISSED WITHOUT PREJUDICE.

      DONE the 7th day of November, 2018.


                                      _________________________________
                                                 ABDUL K. KALLON
                                      UNITED STATES DISTRICT JUDGE




                                        15
